     Case 2:05-cr-00042-MHT-CWB Document 107 Filed 10/25/05 Page 1 of 1




               IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                          )
        v.                                )      CR. NO. 2:05cr42-F
                                          )
CORRIE WOODS                              )

                                       ORDER

      This cause is before the Court on the Motion to Dismiss Indictment (Doc. # 106) filed

on October 24, 2005. By this motion, the Government seeks to dismiss the March 16, 2005

Indictment against Corrie Woods because of the May 25, 2005 Superceding Indictment. The

motion is GRANTED and the March 16, 2005 Indictment is DISMISSED.

      DONE this 25 th day of October, 2005.




                                                  /s/ Mark E. Fuller
                                         CHIEF UNITED STATES DISTRICT JUDGE
